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insich or TENNESSEE .

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(List the names of all the plaintiffs

Piison ld. No. $‘7!;'§ filing this lawsuit. Do not use “et
al.” Attach additional sheets if

Natne necessary.
Pn'son Id. No. Civil Action No.
‘ (To be assigned by the Clerl£’S
Plaintift`(s) oftlce. Do not Write in this space.)

Jury Trial >E{Yes 5 No

v.CO?\HECi angel ‘Bol"ko®
fhc/wiga S~iamn?\'[' Name

Qa®ll’t§h:,ahm` Nam@

Defendant(s)

('List the names of all defendants
against whom you are J‘iling this
lawsuit Do not use “et al.” Attach

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COl\CPLAlNT FOR VIOLATION OF Cl`VIL RIGHTS
FILED PURSUANT TO 42 U.S.C. 6 1983

PR_EVIOUS LAWSUITS (The following information must be provided by each plaintiff.)

A. Have you or any of the other plaintiffs in this lawsuit filed any other lawsuits in the
United States Distzict Court for the Mddle Disuict of Tennessee, or in any other federal

or state court?

B( Yes 5 No
lf you checked the box marked “Yes” above, provide the following information:

l.

l. Parties to the previous lawsuit:

Plaintitfs 'lha.c:aua_§.“ E|~nm'.m
. , | `

 

 

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ll

A. What is the name an
incarcerat@d? lhnd…m
uaaaia;’aaioio
Are the facts of your lawsuit related to your present confinement?

N{Yes v 13 No

if you checked the box marked “No” in question H.B above, provide the name and
address of the prison or jail to which the facts of this lawsuit peitain. .

 

(lt` you filed the lawsuitin federal court, provide the name of the Distiict. lf you
filed the lawsuit in state court provide the name of the state and the county.

What was the case number of the previous lawsuit? rif 13 "Q[ ‘,§¢¢'Q

What was the ludge’s name to whom the case was assigned? o 1
5

When did you nle the previous lawsuit? ama ' , (Provide the year, if

you do not know the exact date.) _
What was the result of the previous lawsuit? F or example, was the case dismissed

'appealed, or still pending? il(i i)€.g inca)

When was the previous lawsuit decided by the court? ina (Provide
the year, if you do not know the exact date.)

Did the circumstances of the prior lawsuit involve the same facts or circumstances
that you are alleging in this lawsuit
E| Yes E( No_

(If you have filed more than one prior lawsuit, list the additional lawsuit(s) on
a separate Sheet ofpap er, and provide the same information for the additional

lawsuit(s)'.)

lHE PLAll\lTIFF’S CURRENT`PLACE GF CONFlNEl\/IENT (The following information
must be provided by each plaintiff.)

d address of the prison or jail in w ch you are currently

 

 

Do the facts of your lawsuit relate to your confinement in a Tennessee State Pnson”2

ill Yes l:l No rrrrrrrrr nn”!_ ,(_ ll )! umwa

lf you checked the box marked “No, ” proceed to question Il. H.

Case 3'12-cV-OO416 Document 1 Filed 04/26/12 Page 2 of 15 Page|D #: 2

2

E. if you checked the box marked “Yes” in question ll.D above, have you presented these
facts to the prison authorities through the state grievance procedure?

E{ Yes _ l:l No
lt` you checked the box marked “Yes” in question H.E above:

l:". .
l. :Z:a; steps dij you take? : ilng `,L(mgcl£. §P,‘§zgm:£g mc m@,i;¢gl gigg

2.

 

lt you checked the box marked “No” in question ll.E above, explain why not.

l-l. Do the facts of your lawsuit pertain to your coniinement in a detention facility operated
by city or county law enforcement agencies (for example, city or county j ail, Workhouse,

etc.)?

ij Yes |:1 No'

lf you checked the box marked ‘.‘Yes” in question ill-l above, have you presented these
facts to the authorities who operate the detention facility?

E(Yes l:l No

l'f you checked the box marked “Yes” in question ll.l above:

l.
l. What steps did you take? I wang g rem grimng

2.

 

L lt` you checked the box marked “No” in question ll.l above, explain why not.

'Attach copies of all grievance related materials including, at a minimum, a copy of the
grievance you filed on each' issue raised in this complaint, the pris on’ s orjail’s response to that
grievance, and the result of any appeal you took from an initial denial of your grievance

lll. PA_RTIES TO THIS LAWSUIT

A. Plaintiff(s) bringing this lawsuit:
1- N@IH€ Of the HIST 1113th … m amici

 

_Prisonld No.7 7o7f77 the first plaintiff: §§‘mfj '

Case 3:12-cV-OO416 Document 1 3|:i|ed.O4/26/12 Page 3 of 15 Page|D #: 3

Address of the first plaintth _,c,£, §§

- (Include the name of the institution and mailing address, including Zip code.
It` you change your address you must notify the Court immediately.)

f\

2. Name of second the plaintiff:
Prison ld. No. of the second plaintift`:

\

Address of the second plaintiff

(Include the name of the institution and mailing address, including zip code.
]'fyou change your address you must notify the Court immediately.)

If there are more than two plaintiffs, list their names, prison identification
numbers, and addresses \on a separate sheet of paper.

B. Defendant(s) against whom this lawsuit is being brought: .
i. iia-aa area ear defendant MQB@_§QLLM___
Place of employment of the first defendant hd;~jo_ai%_c&£%_;)'&l`

 

 

 

 

 

lhe first defendant’s address: ,
fbi ` T& 57040

Named in official capacity? E(Yes l:l No

Yes El No

Named in individual capacity”

2. Name of the second defendant DQLLZL&;QA,QQZ';
Place of employment of the second defendant B_UJQM_CQQ%;&L_
_ 0 U "

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'l`he second defendant’s address:
- ` c 570¢[()

11/ lies E No

Yes 13 l\lo

 

Named in official capacity?
Named in individual capacity”

lt there are more than two defendants against whom you are bringing this
lawsuit, you must list on a separate sheet ofpaper the name of each additional
defendant their place ofemployrnent, their address, and the capacityin which
you are suing them. lf you do not provide the names of such additional
defendants, they will not be included in your lawsuit l'fyou do not provide
their prop er nam e, place of emp@yinent,_an.d,,addressrthe%§lerlrwillrbe

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lV. STATEMENT OF FACTS
State the relevant facts of your case as briefly as possible lnclude the dates When the incidents
or events occurred, where there they occurred, and how each defendant was involved B e sure
to include the names of other persons involved and the dates and places of their involvement

if you set forth more than one claim, number each claim separately and set forth each claim in
aseparate paragraph A`ttach additional sheets, if necessary Use 8 1/z in x ll in paper. Write

on one side only, and leave a l in margin on all four 4 sides.

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n.
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F. lrequest a jury trial. lQ/Yes
Case 3:12-cV-OO416 Document 1 Filed 04/26/12 Page 6 of 15 Page|D #: 6

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UNo

Vl. CERTIFICATION
l (we) certify under the penalty of perjury that the foregoing complaint is true to the best of my (our)

information, knowledge and belief
Signature: )bg;m{§ gist §i‘ gmi` f Date: 'q&z *l§ §
Piison ld. No. 337/m
Address: il(n Cn(mr:i:}_'£ 512
l ita ` B?MG
(lnclude the city, state and zip code.)

Signature: .1 . /\
Prison ld. No. k\" \`~\
1\1 \ \

Address:

Date:

 

(lnclude the city, state and zip code.)

_ ALL PLA]NTIFFS MUST SlGN Al\ll) DATE TH:E COl\/IPLA]NT, and provide the
information listed above. If there are more than two plaintifts, attach a separate sheet of

paper with their signatures, dates, prison identification numbers, and addresses.

ALL PLAINTIFFS l\C[UST COl\/l:PLETE SIGN AND DATE SEPARATE APPLICATIONS
TO PROCEED lNFORZkL/fi PA UPERIS, ifnot paying the civil filing fee.

SUBMIT TH:E COl\CPLAlNT. THE REOUIRED Fl]`il:NG FEE, OR APPLICATION TO

PRO CEED EVFORM€{PA U,PE'RLS'1 TOGETH:ER. Complaints received without the required
filing fee or application to proceed in forma pauperis will be returned. Filing fees§ or
applications to pro ceed in forma pauperis, received without a complaint will be returned.

 

 

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6

 

 

|nmate Medica| Grievance Form
(Forma Médica Del Agravio Del |nterno)

Last, First, lvn ll_'yghw;g E~,l - ama

(Apellido, nombre, segundo nombre)
Houslng Location drng m L,
(Lugar de alojamlento)

The Grievance Commlttee will route request forms to the appropriate person.

 

Date §§ ‘ l<ci

(Fecha)

recluso#M(p_____

|NSTRUCT|ONS: Detail your complaint on the following |ines. Allow three (3) Working days for a response.

|NSTRUCC|ONES: Detal|e de su queja en las lineas en blanco. Permita 3 dias |aborales para obtener una respuesta.

Nature of Grievance/Complalnt: l ., l ' n 5 _ n .-»£ 1.1.\ ¢ .1 n
§Nat ra|eza de la queja) 'L ' ~...
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|nmate Signature (firma del recluso): have

FOR |NTERNAL USE ONLY:

 

 

Received by |Vledical (Date): Reviewed by:

 

 

 

Action Taken.

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CCS-157

  

inmate Medical Grievance Form

 

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5 O L U T ' O N 5 (Forma Médica De|Agravio Del |nterno)

Last, First, M|(MAMZ, (€lammf recluso#.g)_'_b____37
(Apellido, nombre, segundo nombre)

Housing Location grand lil la Date 5~30‘ la

(Lugar de alojamiento) l (Fecha)

The Grievance Committee will route request forms to the appropriate person..

|NSTRUCT|ONS: Detail your complaint on the following lines. Allow three (3) working days for a response.
lNSTRUCC|ONES: Detalle de su queja en las lineas en blanco. Permita 3 dias laborales para obtener una respuesta.

     
  

Nature of Grievance/Complaint:
_(Na uraleza d- la ueja)

 

 

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|nmate Signature (firma del rec|uso). M/M 372/ith

 

 

 

 

FOR |NTERNAL USE ONLY:
Received by Medical (Date): Reviewed by:

 

 

 

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inmate Medical Grievance Form
(Forma Médica Del Agravio Del |nterno)

Last, First, M|%ME__E|‘_QM}LC" |nmate# 5371(&

(Ape||ido, nombre, segundo nombre) recluso #

Housing Locatior::i1 'Du:|* M 13 Dat€‘z"";)>§

(Lugar de alojamiento) i (Fecha)

 

 

The Grievance Committee will route request forms to the appropriate person.

|NSTRUCT|ONS: Detail your complaint on the following |ines. AlloW three (3) Working_days for a response.
|NSTRUCC|ONES: Detalle de su queja en las lineas en blanco. Permita 3 dias labora|es para obtener una respuesta.

 

 

 

 

      

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would …t& /z;‘i¥ EBW:‘?' ',I§§':;‘ ‘l id £\m*`z mm £!li';)Oh'i );.§ §§n& gant » Tltb

g§»im.` i¢.; ltE;S~`li `?L,l\l$zi‘; `}¢. lutz raw ‘€`<.~!‘ ":) Uljz: 1301 il M€ DEGU&W@ l md
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|nmate Signature (firma del recluso)i

 

FOR |NTERNAL USE ONLY:
Received by Medical (Date):

 

Reviewed by:

 

 

Action Taken: '\ 1

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|nmate Medical Grievance Form

(Forma Médica Del Agravio Del |nterno)

o
Last, First, l\/|| (“'\\Q\SSOU‘R) ill » F\m\`g

(Apel|ido, nombre, segundo nombre)

Housing Location F ` w lq la

(Lugar de a|ojamiento)

|nmate#f£ 2113

recluso #

Date 446 - )3
(Fecha)

The Grievance Committee Will route request forms to the appropriate person.

|NSTRUCT|ONS: Detail your complaint on the following lines. A||ow three (3) Working days for a response.
|NSTRUCC|ONES: Detalle de su queja en las lineas en blanco. Permita 3 dias labora|es para obtener una respuesta.

‘° l
Nature of Grievance/Complaint: 1 , Fl
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inmate Signature (firma del recluso):, %MM g °MM
FOR |NTERNAL USE ONLY: m ,

 

Received by Medical (Date):

 

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Action Taken:

 

 

 

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inmate Medical Grievance Form
(Forma Médica Del Agravio Del lnterno)

Last, Firstl l\/ll §::`Y`l - l "“`.’ " Hlmum‘? |nmate#§?/{Q

(Apellido, nombre, segundo nombre)

Housing l_ocation M Date j~Z~[g'! _

(l_ugar de alojamie_nto) (Fecha)

 

 
 

The Grievance Committee Will route request forms to the appropriate person.

|NSTRUCT|ONS: Detail your complaint on the following |ines. AlloW three (3) Working days for a response
|NSTRUCClONES: De los deta|les de su pedido en las lineas en blanoo. Tardara 3 dias laborales para obtener una respuesta.

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Nature ofGrievance/Comp|aint: ‘;_~ .';»LM ,A_. 5 :1;' ~…'li,‘;“¢ p ‘ 111 r; ~,- .
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|nmate Signature (firma del preso)j

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Reviewed by:

 

 

 

 

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inmate Medical Grievance Form
(Forma Médica Del Agravio Del |nterno)

Last, First, |\/l| m ‘E| "Bmilf" |nmate#‘H ZH¢

 

 

 

(Ape|lido, nombre, segundo nombre) rec|uso# a’
Housing Location ¥:~nr~] 14 L Date
(Lugar de a|ojamiento) l _ (Fecha)

The Grievance Committee will route request forms to the appropriate person.

lNSTRUCT|ONS: Detail your complaint on the following |ines. A||ow three (3) working days for a response
|NSTRUCCIONES: Detalle de su queja en las lineas en blanco. Permita 3 dias labora|es para obtener una respuesta.

 

Nature of Grievance/Comp|aint: s 4 " u'»tr~i\.[n.i §)?)Mir‘it//t `; Gr ..¢»l“{d'!!~} .L ‘:m~> >.nzr 'tc.`x‘

 

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